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NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,

VS. Case No.: 23-mj-00575-JFJ

Charging District’s

Case No.: CR-23-441-D-2
Victoria Leanne Williams,

Defendants) WAIVER OF RULE 5 & 5.1 HEARINGS
, (COMPLAINT OR INDICTMENT)

I understand that I have been charged in another district, the (name of other court)
USDC WD/OK

I have been informed of the charges and of my rights to:

(1) retain counsel or request the assignment of counsel if I am unable to retain counsel;

(2) an identity hearing to determine whether I am the person named in the charges;

(3) production of the warrant, a certified copy of the warrant, or a reliable electronic copy of
either;

(4) a preliminary hearing to determine whether there is probable cause to believe that an offense

has been committed, to be held within 14 days of my first appearance if I am in custody and
21 days otherwise, unless I have been indicted beforehand.

(5) a hearing on any motion by the government for detention;
(6) request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

I agree to waive my right(s) to:

wo an identity hearing and production of the warrant.

O a preliminary hearing.
O a detention hearing.
O an identity hearing, production of the judgment, warrant, and warrant application, and any

preliminary or detention hearing to which I may be entitled in this district. I request that my

LI preliminary hearing and/or 0) detention hearing be held in the prosecuting district, at a
time set by that court.

I consent to the issuance of an order cee my appearance in the prosecuting district where the
charges are pending against me. uty

Date: 10/24/2023 KANE LD. it \ALs

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(somey ior meen)

Rule 5 Complaint Indictment Detention (1/2022)
